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EXHIBIT H
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

MARISSA CARTER, et al.,
AMENDED SCHEDULING ORDER

Plaintiffs,
14-CV-6275G
V.

CIOX HEALTH, LLC, et al.,

Defendants.

Pursuant to email communications with this Court and counsel on December 13,
14 and-15, 2017, and the joint request of counsel for an extension of the deadlines by which to
file motions to join other parties and amend the pleadings, and to file motions related to class
certification contained in this Court’s August 22, 2017 Amended Scheduling Order (Docket
#75), and good cause having been shown, it is

ORDERED that:

1. All motions to join other parties and to amend the pleadings shall be filed
on or before April 5, 2018. Any third party action shall be commenced on or before April 5,
2018.

2. Motions relating to class certification shall be filed by no later than April

30, 2018.

3. The status conference scheduled to be held with the undersigned at 2310
U.S. Courthouse, Rochester, New York on January 9, 2018, at 11:00 a.m., is adjourned to March

20, 2018, at 10:20 a.m., to discuss the status of the case and the possibility of settlement.
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4, All other deadlines contained in this Court’s August 22, 2017 Scheduling
Order (Docket # 75) shall remain in full force and effect.

No extension of the above cutoff dates will be granted except upon written
application, made prior to the cutoff date, showing good cause for the extension. Application for
extensions should be made to the Magistrate Judge. Joint or unopposed requests to extend the
deadlines set forth in this order need not be made by formal motion, but rather may be sought in a
letter to the court. Letter requests must detail good cause for the extension and propose new

‘deadlines. .
IT IS SO ORDERED.
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MARIAN W. PAYSON
United States Magistrate Judge

Dated: Rochester, New York
December 1& , 2017
